Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 1 of 16 PageID #:522




                     EXHIBIT C
            Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 2 of 16 PageID #:523




From:                            Brendan Duffner <bduffner@mcgpc.com>
Sent:                            Friday, November 29, 2024 7:39 PM
To:                              Lamoureux, Christina M.
Cc:                              David Gerbie; Joseph Dunklin; Andrew Heldut; Colin Buscarini; Evan Meyers; Fox, Adam
                                 R.; Bryan, Kristin L.; Makinde, Hannah J.
Subject:                         [EXT] Re: R.S., et al v. IDology, Inc. No. 22-cv-03479 [I-AMS.FID5108397]
Attachments:                     Feb 2022 Dev Ex - IDology .pdf; Sept 2020 Dev Ex - IDology.pdf



Counsel,

If your client had never processed biometric information for Roblox, that would have been something
appropriate to address at the motion to dismiss stage as an alternative to Idology’s personal jurisdiction
argument. It is disappointing that Defendant appears to just be getting around to investigating Plaintiff’s
claims in this 2022 case. In any event, Defendant’s assertion that it never processed biometrics for
Roblox (supported circumstantially as it is and without a supporting declaration under oath) appears to
be false, as shown by the attached.

We’d encourage Defendant to perform a thorough factual investigation of Plaintiff’s standing and share
it, along with any supporting information, with our office informally prior to bringing any motion so that
the Parties can avoid wasting time and resources on unnecessary motion practice.

We can make ourselves available to discuss on Monday prior to the hearing to the extent you’d like to.

Best,

Brendan


Brendan Duffner | Attorney
MCGUIRE LAW, P.C.
55 West Wacker Drive, 9th Fl.
Chicago, Illinois 60601
bduffner@mcgpc.com
T: (312) 893-7002 ext. * ext.1
F: (312) 275-7895
Cell: (815) 370-2270
www.mcgpc.com



         On Nov 26, 2024, at 2:23 PM, Lamoureux, Christina M.
         <christina.lamoureux@squirepb.com> wrote:



         Counsel,



                                                          1
   Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 3 of 16 PageID #:524
We write concerning the above-captioned litigation, which has been set for a discovery conference
this coming Monday. Following the court’s ruling on IDology’s motion to dismiss, we have
continued our investigation into Plaintiff’s claims and the merits of the case, which would not have
been appropriate to address at the motion to dismiss stage. Based on our investigation, we are
confident that the wrong party has been sued and Plaintiff does not have a basis for her claims
against IDology.

IDology has never processed biometric information for Roblox, the third party Plaintiff alleges she
interacted with. In fact, other parties have been publicly named as Roblox’s service provider in its
Biometric Privacy Notice, information that has been available publicly since before Plaintiff filed
her lawsuit. The service provider initially named was Veriff, and the service provider currently listed
is Persona. Archived copies of Roblox’s Biometric Privacy Notice from around the time Plaintiff filed
suit, as well as its current notice, are attached. We also understand that you previously filed suit
against both Veriff and Roblox, and that you were aware that Veriff was Roblox’s service provider
for biometrics at that time.

We intend to raise this issue with the Court and request dismissal of the claims. We can make
ourselves available for a call tomorrow between 9 am-1 pm EST, or this Friday during the same
timeframe if needed, if you would like to discuss this further prior to the conference.

Best,
Christina


<image001.jpg>           Christina M. Lamoureux
                         Associate
                         Squire Patton Boggs (US) LLP
                         2550 M Street, NW
                         Washington, DC 20037
                         T +1 202 457 6095
                         O +1 202 457 6000
                         F +1 202 457 6315
                         M +1 203 273 7737
                         christina.lamoureux@squirepb.com | squirepattonboggs.com
                         Find Us: Twitter | LinkedIn | Facebook | Instagram




Over 40 Offices across 4 Continents

This message is confidential and may be legally privileged or otherwise protected from disclosure. If you are not the
intended recipient, please telephone or email the sender and delete this message and any attachment from your
system; you must not copy or disclose the contents of this message or any attachment to any other person.

For information about how Squire Patton Boggs processes personal data that is subject to the requirements of
applicable data protection laws, please see the relevant Privacy Notice regarding the processing of personal data
about clients and other business contacts at www.squirepattonboggs.com.

Squire Patton Boggs (US) LLP is part of the international legal practice Squire Patton Boggs, which operates
worldwide through a number of separate legal entities. Please visit www.squirepattonboggs.com for more information.

#US <ROBLOX BIOMETRIC PRIVACY NOTICE – August 15 2022.pdf><ROBLOX BIOMETRIC
PRIVACY NOTICE – May 20 2022.pdf><ROBLOX BIOMETRIC PRIVACY NOTICE - January 8
2022.pdf><ROBLOX BIOMETRIC PRIVACY NOTICE – November 26 2024.pdf>




                                                            2
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 4 of 16 PageID #:525
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 5 of 16 PageID #:526
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 6 of 16 PageID #:527
                   DevEx requests can be declined for multiple reasons. Common DevEx rejection reasons are
                   detailed below:

                    • Failure to complete registration/submit tax forms on the DevEx portal
                    • Insufficient Earned Robux (Please review section 3.b of the DevEx Terms of Use)
                    • Terms of Use violations including but not limited to
                      a) Scamming
                      b) Account Theft
                      c) Attempting to exchange Robux for real currency other than through DevEx
                      d) Other suspicious activity that is used to exploit other Roblox users or Roblox feature
                      e) Any illegal or unethical activities

                   Please note that if your request is rejected for a Terms of Use violation then we will not be
                   able to provide exact details on why you were rejected but only general information.

                13. My previous DevEx requests were approved, but my most recent DevEx request was
                   declined. Why?

                   Approval of your previous DevEx request in no way is a guarantee that your future DevEx
                   requests will be processed. All DevEx requests are reviewed for eligibility upon submission.

                   If activity that violates the Terms of Use or the spirit of the program is identified at any
                   time, Roblox reserves the right to decline the DevEx request.

                14. I received a moderation action on my account 3 years ago, does this mean I can't DevEx?

                   Minor moderation infractions or having a moderation history does not necessarily mean
                   that your account(s) are ineligible for DevEx. We do take into consideration the type of
                   infraction and the timing of it during the review process.

                   There are certain Terms of Use violations that are particularly egregious that can result in
                   your DevEx request being declined regardless of the timing of the infraction.




                 Tipalti
                15. What is the DevEx/Tipalti portal?

                   Tipalti is a third-party payment processor that we have partnered with to process DevEx
                   payments. Once you submit a DevEx request, and if it is approved to proceed to the next
                   step you will be sent an invitation to the Tipalti portal. Portal invitations are sent to the
                   email you provided on your DevEx request.

                16. When do I get my Tipalti portal?

                   If your account is approved to proceed to the next step of processing you will be sent an
                   invitation to the DevEx portal. Once you submit a DevEx request for review, it can take
                   around 5 7 days for you to receive the DevEx portal invitation.

                17. Am I sent an invitation each time I submit a DevEx request?

                   No. First time DevEx participants whose accounts have been approved to proceed to the
                   next step of processing will be sent an invite to complete registration on the DevEx portal.
                   Once you have completed registration you will not be asked to re complete registration for
                   future DevEx requests.

                   However, it is your responsibility to ensure that the information you enter in the DevEx
                   portal is accurate and kept up to date. The information you provide is used to ensure all
                   payments comply with applicable laws and regulations. Inaccuracies in information
                   provided could impact your payment.

                18. What is the DevEx portal link?

                   The link to the DevEx portal is here.

                19. The DevEx portal link is expired, what do I do?

                   The DevEx portal registration link provided in the email is only valid for one week. If the
                   link has expired, please send an email to DevEx@roblox.com.

                20. Whose name and information should be on the DevEx request and DevEx/Tipalti portal?

                   The Roblox account owner should be the one whose name and information is on the DevEx
                   request, Tipalti portal and tax form. Please note, the name on the bank account (if
                   applicable) should also match the name on the Tipalti portal.

                21. I'm locked out of my DevEx/Tipalti portal, what do I do?

                   Send an email to DevEx@roblox.com. Please make sure to include your username in the
                   email. We will work to get your account unlocked as soon as possible.
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 7 of 16 PageID #:528
                22. I no longer have access to my phone number that used for the DevEx portal 2 factor
                   authentication (2FA), what do I do?

                   Send an email to DevEx@roblox.com . Please make sure to include your username in the
                   email. We will work to have your 2FA reset as soon as possible. You may be asked to
                   validate your identity through IDology.

                23. I forgot my password, what do I do?

                   Send an email to DevEx@roblox.com . Please make sure to include your username in the
                   email. We will work to have your password reset as soon as possible. You may be asked to
                   validate your identity through IDology.

                24. What payment methods are available in Tipalti?

                   Tipalti offers multiple payment methods including ACH, eCheck, Paypal, checks, wire
                   transfers. Some payment methods' availability depends on your country, which you will be
                   able to see on your DevEx portal once you sign up. When selecting your payment method
                   please take into consideration the transaction fee and foreign exchange fee (FX fee) when
                   selecting your payment method.


                   Additionally, some payment methods have payout limits depending on the country. You
                   can also see this information on the payment method coverage and list of countries on the
                   Tipalti support page.

                25. The status of my payment says "Paid" on the DevEx portal, but I have not received my
                   payment. When will I receive my payment?

                   After your DevEx payment has been paid by Tipalti, there will be an additional processing
                   time for you to receive your payment.

                   Please note, the processing time may vary by payment method and the country the
                   payment is being sent to. You can reference the chart below for the estimated processing
                   time by payment method:

                                    Payment Method                                       Processing Time
                                            ACH                                         3 to 5 business days
                                          eCheck                                        3 to 5 business days
                                          PayPal                                        2 to 3 business days
                                      Wire Transfer                                     1 to 5 business days
                                          Check                                        7 to 14 business days



                    If you have any questions or concerns regarding your payment, please send an email to
                   DevEx@roblox.com.Most banks do not process transactions on the weekends and
                    holidays. If your payment is submitted for processing on Friday, it may be delayed for
                    processing until the following week.

                26. Where can I see the fees associated with my payment method?

                   When you are selecting your payment method on your Tipalti portal, you will be able to
                   see the fees that are associated with that payment method.

                   We are unable to change the fees associated with your payment. Please select the
                   payment method that works best for you.

                27. I recently moved, do I have to update my Tipalti portal?

                    It is your responsibility to ensure that your information in the Tipalti portal is correct.
                   Please make sure to update your Tipalti portal should any of your information change.
                   Please note, discrepancies between your DevEx request and Tipalti portal can result in
                   processing delays or the decline of your DevEx request.




                 Tax Forms/Information

                 (Disclaimer: The information contained on this website is provided for informational purposes only. It is

                 not intended as tax advice nor as a substitute for obtaining accounting, tax, or financial advice from a

                 professional tax planner or financial planner, and may not be used to support tax positions. While we

                 have made every attempt to ensure that the information contained below has been obtained from

                 reliable sources, Roblox is not responsible for any errors or omissions, or for the tax or other

                 consequences arising from or attributable to the use of this information. Please consult with a tax

                 adviser for any tax guidance.


                 Your decision to participate in the DevEx program may or may not have taximplications based on your

                 taxjurisdiction (location) and your total cash payouts. Please consult a tax adviser for additional

                 information.)
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 8 of 16 PageID #:529
                28. I don't pay taxes; do I need to complete a tax form?

                   We do require all DevEx participants to submit a completed tax form before we can process
                   a payment.

                29. Which tax form do I submit?

                   One of the steps in the DevEx payment process is supplying us with your tax related
                   information (requirements vary depending on the country in which you reside). Roblox
                   recognizes these steps can be time consuming and possibly tedious; however, these steps
                   are mandated by the tax authorities in the countries in which Roblox operates.

                   Tax reporting requirements vary based on whether you are a U.S. person or non U.S.
                   person.

                   According to the IRS, for U.S. federal tax purposes, a U.S. person includes, but is not limited
                   to:

                    • An individual who is a U.S. citizen or U.S. resident alien,
                    • A partnership, corporation, company, or association created or organized in the U.S. or
                         under the laws of the U.S.
                    • Any estate (other than a foreign estate), or
                    • A domestic trust (as defined in Treasury Regulations Section 301.7701 7)

                   Process for a U.S. Person

                     All U.S. persons participating in the DevEx program are required to submit their W 9 tax
                     form during their Tipalti account creation (after submitting their first payout request).
                     Roblox will submit your tax information to the Internal Revenue Service (IRS) to validate
                     your tax ID information. If U.S. tax information does not exactly match IRS records, a
                     Roblox DevEx agent will contact you to get further information through email. Please
                     verify this information comes from devex@roblox.zendesk.com to avoid phishing and
                     scam emails.

                     If your cash earnings for the prior tax year are greater than $600 then Roblox will report
                     your cash earnings to the IRS on IRS Form 1099 MISC. We generally issue these Forms on
                     or before January 31 each year. Developers will be both mailed and emailed their tax
                     form. The forms will be mailed to the address they provided on their W 9 and emailed to
                     the email account associated with their Tipalti account

                   Process for a non-U.S. Person

                     All non U.S. Persons participating in the DevEx program are required to submit their IRS
                     W 8BEN (or other applicable IRS Form W 8) tax form during Tipalti account creation to
                     confirm that they are a non U.S. person. By signing the IRS W 8 tax form, you are
                     certifying you are not a U.S. person.

                     As a non U.S. Person you generally will not receive an annual tax form.

                30. Do you have additional resources on which Tax Forms I should submit?

                   For more information regarding the tax forms that can be completed electronically on the
                   DevEx portal, you can visit Tipalti's Support page US Tax Forms

                   Additionally, we recommend that you consult a tax professional regarding any tax related
                   questions.

                31. Where do I submit my tax form?

                   You will be asked to complete and submit your tax form on the Tipalti portal. Please do not
                   email your tax form or other sensitive personal information to us.




                 ldology

                32. What is IDology?

                   IDology is a third party digital identity verification and authentication tool we have
                   partnered with to perform ID verifications.

                33. Why am I required to complete the ID verification?

                   Roblox works hard to create a safe and fun environment for all of our community. In
                   unison with that, we partnered with IDology to add an additional layer of protection for
                   our Developers. The safety and security of our Developers is a top priority for our team.

                   Reasons you may be asked to complete the ID verification:

                   • Information changes and discrepancies
Case: 1:22-cv-03479  Document
                  • Recently compromised#:  56-3
                                        account      Filed:
                                                (Roblox          03/27/25
                                                        account and DevEx portal) Page 9 of 16 PageID #:530

                      34. How do I complete the ID verification?

                         The DevEx team will provide a link for you to complete the ID verification. The link will
                         provide step by step instructions on how to complete the ID verification.

                         You will always be asked to provide your information through IDology. Please verify that
                         the email we reach out to you comes from DevEx@roblox.zendesk.com to avoid phishing
                         and scam emails. If you have any concerns about responding to the email that we reached
                         out to you from, please reach out to us from the Roblox Support page.

                         You will need to use your smartphone to complete IDology because the "selfie" page will
                         not initiate on other types of devices.

                      35. What forms of identification will I need to provide?

                         You will be required to upload the front and back of your valid government issued
                         document, and as an additional layer of identification you will be asked to take a selfie.

                         Please take a selfie on the day of completing IDology.

                      36. I completed IDology, why do I have to do it again?

                         You will need to complete IDology again for one or more of the following reasons:

                         • The document provided is illegible
                         • The document provided is expired
                         • You did not complete the selfie section
                         • You uploaded a photo of yourself instead of taking a selfie the day of

                      37. The link is no longer working, I think I messed up on completing the ID verification, what
                         do I do?

                         Please reply to DevEx@roblox.com and let us know the issue you are experiencing. Please
                         do not send your personal information or any sensitive information to DevEx@roblox.com.

                      38. ls IDology secure?

                         The document and selfie that is provided and uploaded through IDology will be solely
                         used for authentication. Your information will not be used for any other purposes. All of
                         the information that is provided through the IDology link will be inaccessible after 14 days.

                         Additionally, your data is encrypted at all times as it moves around the IDology network.
                         The method HTTP over TLS 1.2 (https) is used when the data is in transit and then it is
                         encrypted via AES 256 at the field level before it is sent to the inside for storage.

                         If you have any questions, please reach out to us at DevEx@roblox.zendesk.com




                       Earned Robux/DevEx Rates
                      39. Do group funds count as earned Robux?

                         Group payouts are considered earned if the group funds are composed of bona fide sales
                         of virtual items/clothing. Please note, we check all sales and group funds for validity. If you
                         receive group funds from a group that earned the Robux fraudulently or against Roblox
                         TOS, then those will not count towards your earned Robux balance.

                      40. How do I determine if the group I am working with is earning funds legitimately?

                         There isn't one particular thing you can look at to ensure you are collaborating with a party
                         that is earning funds legitimately. To reduce your risk, please consider the following:

                          • The length of time that you have associated with the group/group owner
                          • Play their games, see what they have published in the past
                          • Research the group owner and games associated with the group. (Group name, ranks,
                             games, logo, description, etc).
                      41. I sold all my limited hats. Can I cash out the funds I received from selling limited items?

                         No. Robux acquired from trading/selling virtual items that you did not create are not
                         considered earned.

                      42. My DevEx request was approved, I received a different amount than what is listed on the
                         current exchange rate. Why?

                         The exchange rate for cash out may vary based on when you earned Robux, and is subject
                         to change. You can find more information about past changes here.
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 10 of 16 PageID #:531

                   You can find more information about the DevEx program here: Developer Exchange       Help
                   and Information Page

                   You can find the DevEx Terms of Use here: Developer Exchange Terms of Use

                   For additional information about DevEx payment methods, check out the following blog
                   post: DevEx Update: New Payment Options

                   If you have additional questions about the DevEx program or the DevEx/Tipalti portal, send
                   an email to DevEx@roblox.com. Please make sure to include your Roblox username in the
                   email.



                   Need more help? Contact support here.




                                                         Was this article helpful?

                                                                              No
                                                     �      Y•_'   �I �[       _   �

                                                     7471 out of9637found this helpful




                   Related articles
                   Developer Exchange Terms of Use

                   Roblox Terms of Use

                   Experimental Mode

                   Trading System

                   Premium Payout FAQs




  Roblox Support                    Privacy Policy                                       Terms of Use           English (US) v
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 11 of 16 PageID #:532
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 12 of 16 PageID #:533
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 13 of 16 PageID #:534
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 14 of 16 PageID #:535
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 15 of 16 PageID #:536
Case: 1:22-cv-03479 Document #: 56-3 Filed: 03/27/25 Page 16 of 16 PageID #:537
